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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


TARINA SKEEN, CHEYENNE BLANUSA,
MALISSA BROWN, NATALIE VIDAL,
and CHRISTINA TIMMERMEIER
on behalf of themselves and all others
similarly situated,                                  CASE NO.: 1:17-cv-04119

       Plaintiffs,                                   CLASS ACTION

v.                                                   JURY TRIAL DEMANDED

KAS DIRECT, LLC d/b/a BABYGANICS,

      Defendant.
___________________________________/


                     FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiffs, TARINA SKEEN, CHEYENNE BLANUSA, MALISSA BROWN, NATALIE

VIDAL and CHRISTINA TIMMERMEIER (collectively, “Plaintiffs”), on behalf of themselves

and all others similarly situated, bring this class action against Defendant, KAS Direct, LLC d/b/a

Babyganics (“Babyganics” or “Defendant”), and allege on personal knowledge, investigation of

their counsel, and on information and belief as follows:

                                    NATURE OF ACTION

       1.      This is a class action brought by Plaintiffs, on behalf of themselves and all other

similarly situated persons, against Babyganics. Plaintiffs seek damages and equitable and legal

remedies for themselves and the putative Class, which includes consumers who purchased

Babyganics® brand Chamomile Verbena Conditioning Shampoo + Body Wash, Fragrance-Free

Conditioning Shampoo + Body Wash, Fragrance-Free Bubble Bath, Chamomile Verbena Bubble

Bath, Fragrance-Free Moisturizing Therapy Cream Wash, Chamomile Verbena Squeeze & Foam

Shampoo + Body Wash, Orange Blossom Night Time Bubble Bath, Fragrance-Free Shampoo +

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Body Wash, Chamomile Verbena Shampoo + Body Wash and/or Orange Blossom Night Time

Shampoo + Body Wash (collectively, the “Babyganics Bath Products” or “Products”).

        2.       This action arises out of Defendant’s deceptive and misleading labeling and

marketing of the Babyganics Bath Products as “Tear Free”, gentle, non-allergenic, and safe for

infants and children when, in fact, they contain chemicals and other substances that are eye

irritants.

        3.       Babyganics has marketed itself as a company that creates safe, gentle and effective

products for infants and children, with a thoughtful process of thoroughly vetting ingredients and

testing all of the Products to make sure they safely interact with infants and children. From this

campaign, Babyganics has convinced consumers that they can trust the Babyganics name and the

specific representations Babyganics makes about its products, including that the Babyganics Bath

Products are “Tear Free” and are, therefore, safe and gentle for infants and children’s eyes.

        4.       During all times material hereto, Defendant engaged in a common plan and

scheme, through the use of misleading marketing, advertising and product labeling, which led

consumers to believe the Babyganics Bath Products were “Tear Free,” and would be “non-

irritating” to infants and children’s eyes. Defendant’s representations that the Babyganics Bath

Products are “Tear Free,” gentle, non-allergenic, non-irritating and safe for infants and children

are untrue.

        5.       Scientific testing has shown that many of the ingredients contained in the Products

are proven eye irritants. Defendant knows the content and effects of the ingredients in its Products

and knows of the effects these Products can have on infants and children’s eyes.




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       6.      Accordingly, it is through Defendant’s labeling, advertising, and marketing of the

Products as “Tear Free”, non-allergenic, non-irritating, safe and/or gentle for infants and children,

that consumers have been deceived.

       7.      But for Defendant’s deceptive and misleading identification of the Products as

“Tear Free,” non-allergenic, non-irritating, safe and/or gentle, Plaintiffs and the Class would not

have purchased the Products.

       8.      By way of this action, Plaintiffs seek to remedy the unlawful, unfair, deceptive,

and misleading business practices of Defendant with respect to the marketing and sale of the

Babyganics Bath Products, which are sold throughout New York, California, Florida, Texas, and

the United States.

       9.      Plaintiffs now bring this suit to end Defendant’s false, deceptive, and misleading

practices and to recover the ill-gotten gains obtained by Defendant through this deception.

                                            PARTIES

       10.     Plaintiff, Tarina Skeen, is and was at all times relevant to this matter a resident of

the state of Florida. Plaintiff Skeen purchased certain Babyganics Bath Products that are the

subject of this Complaint. Most recently, Plaintiff Skeen purchased Babyganics Chamomile

Verbena Shampoo + Body Wash on May 16, 2017 from a Publix grocery store located in Daytona

Beach, Florida.

       11.     Plaintiff, Cheyenne Blanusa, is and was at all times relevant to this matter a

resident of the state of California. Plaintiff Blanusa purchased certain Babyganics Bath Products

that are the subject of this Complaint. Specifically, Plaintiff Blanusa purchased a Babyganics

Essentials Set, which included Chamomile Verbena Bubble Bath and Chamomile Verbena

Squeeze & Foam Shampoo + Body Wash, on March 6, 2017, from a Babies R Us located in West

Covina, California.
                                                 3
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       12.      Plaintiff, Malissa Brown, is and was at all times relevant to this matter a resident

of the state of California. Plaintiff Brown purchased certain Babyganics Bath Products that are

the subject of this Complaint. Specifically, Plaintiff Brown purchased Orange Blossom Night

Time Shampoo + Body Wash and Orange Blossom Night Time Bubble Bath in March 2017 from

a Babies R Us located in Santa Clara, California.

       13.      Plaintiff, Natalie Vidal, is and was at all times relevant to this matter a resident of

the state of Texas. Plaintiff Vidal purchased a Babyganics Bath Product that is the subject of this

Complaint.     Specifically, Plaintiff Vidal purchased Chamomile Verbena Squeeze & Foam

Shampoo + Body Wash in 2017 from a Wal-Mart located in Port Isabel, Texas.

       14.      Plaintiff, Christina Timmermeier, is and was at all times relevant to this matter a

resident of the state of New York. Plaintiff Timmermeier purchased certain Babyganics Bath

Products that are the subject of this Complaint. Specifically, Plaintiff Timmermeier purchased

Chamomile Verbena Shampoo + Body Wash and Chamomile Verbena Bubble Bath in 2016 from

a Babies R Us in Brooklyn, New York.

       15.      Defendant, KAS Direct, LLC, is a Delaware limited liability corporation. At all

times relevant to this matter, Defendant was a citizen of the state of New York with a principal

place of business in Westbury, New York. At all times relevant to this complaint, Defendant has

transacted business in this judicial district and throughout the United States, including New York,

Florida, Texas, and California, under the name “Babyganics” pursuant to which Defendant

manufactures, markets, distributes and sells a variety of consumer products for infants and

children.

                                 JURISDICTION AND VENUE

       16.      This Court has personal jurisdiction over Defendant in this matter. The acts and

omissions giving rise to this action occurred in the state of New York. Defendant has been
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afforded due process because it has, at all times relevant to this matter, individually or through its

agents, subsidiaries, officers and/or representatives, operated, conducted, engaged in and carried

on a business venture in this state and/or maintained an office or agency in this state, and/or sold

products, committed a statutory violation within this state related to the allegations made herein,

and caused injuries to Plaintiffs and putative Class Members, which arose out of the acts and

omissions that occurred in the state of New York, during the relevant time period, at which time

Defendant was engaged in business activities in the state of New York.

         17.     Under 28 U.S.C. § 1391, venue is proper in the Southern District of New York

because Defendant conducts business in this District, maintains a principle place of business in

this District, and has intentionally availed itself of the laws and markets within this District.

                       FACTS COMMON TO ALL CLASS MEMBERS

         18.     At all times relevant to this matter, Defendant created, developed, marketed, sold

and distributed the Babyganics Bath Products to consumers throughout the United States.

         19.     According to Defendant’s website, the Babyganics Bath Products are part of “a

brand designed by parents, tested and proven to be safe and effective when used on or around

babies.” 1

         20.     The packaging for each of the Babyganics Bath Products includes the prominent

representation that the Product is “Tear Free” on the front label.

         21.     Defendant has prominently displayed the “Tear Free” representation on the front

of its Product packaging because it is well aware of consumers’ concerns regarding the potential

for eye irritation and injury in bath products for infants and children.




1
    http://babyganics.com/our-glossary/ (last visited December 8, 2016).
                                                  5
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        22.     These consumers are particularly interested in purchasing bath products for infants

and children that are free of ingredients that can cause eye irritation and/or injury.

        23.     Because of this concern, infant and child bath products (including shampoos, body

washes, and bubble bath products) can be specially formulated to reduce the concentration or, in

some cases, the presence of conventional adult shampoo ingredients that can irritate or injure the

eyes.

        24.     Manufacturers, such as Defendant, are well aware of the fact that infant and child

bath products’ propensity for eye irritation, or lack thereof, is a crucial factor in consumer

purchasing decisions. Nearly every major infant and/or children’s bath product on the market in

the United States makes some representation in its advertising, marketing and labeling regarding

eye irritation, or lack thereof.

        25.     Such label representations include, but are not limited to, Johnson’s Baby

Shampoo’s representation of “No More Tears”, Johnson’s Head-to-Toe Baby Wash’s

representation of “No More Tears”, Johnson’s Baby Bedtime Bath’s representation of “No More

Tears”, Johnson’s Baby Moisture Wash’s representation of “No More Tears”, Honest Shampoo

& Body Wash’s representation of “Tear-Free”, Cetaphil Baby Wash & Shampoo’s representation

of “Tear Free”, California Baby Shampoo & Body Wash’s representation of “Tear Free”, Burt’s

Bees Baby Shampoo & Wash’s representation of “No Tears”, Burt’s Bees Baby Bee Shampoo &

Wash’s representation as “Tear Free”, Dial Kids Body & Hair Wash’s representation as “Tear

Free”, Suave Kids 2-in-1 Shampoo + Conditioner’s representation as “Tear Free”, Suave Kids 3-

in-1 Shampoo + Conditioner + Body Wash’s representation as “Tear Free”, Aquaphor Baby Wash

& Shampoo’s representation as “Tear-free”, and L’Oreal Kids Extra Gentle 2-in-1 Shampoo’s

representation of “No Tears!”.



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        26.     Defendant has capitalized on consumers’ concerns and desire for purportedly “tear

free”, “no more tears” and/or “no tears” products by advertising, selling, and representing the

Products as “Tear Free” when, in fact, the Babyganics Bath Products contain chemicals and other

substances that are proven eye irritants.

        27.     For instance, the Babyganics Bath Products have similar formulations, and each

contain sodium lauroyl methyl isethionate, propanediol, caprylyl/capryl glucoside, sodium

lauroyl, ethylhexylglycerin, citric acid, trisodium ethylenediamine disuccinate, dehydroacetic

acid, phenoxyethanol, sodium hydroxide—all of which have been shown to be skin irritants, eye

irritants, or both.

        28.     Testing of the Babyganics Bath Products reveals that the Products contain several

ingredients that were shown to be ocular irritants under conditions of a standard ocular testing

bioassay.

        29.     Testing also revealed that the Products have Ph levels below the neutral Ph level

of 7, indicating that Products contain chemicals or other substances that are acidic. Exposure to

acidic chemicals in the eye can cause eye injuries, including, but not limited to, corneal abrasions.

Defendant’s “Tear Free,” Safe, Gentle And Product Superiority Representations

        30.     Defendant’s “Tear Free” representation is featured prominently, in the form of a

graphic, on the front label of each of the Babyganics Bath Products. The “Tear Free” graphic also

appears on Defendant’s website and in its marketing materials in the following forms:




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                              12
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         31.     On its website, Defendant includes a glossary so consumers understand the

meaning of the representations on its Product labels.           This glossary defines the terms

“Babyganics” and “Tear Free” as follows:


                 Babyganics[:] A brand designed by parents, tested and proven to be
                 safe and effective when used on or around babies. 2

                 ***

                 Tear Free[:] This product has been found to be non-irritating to the
                 eyes in an independent, clinical test. 3

         32.     On its website, Defendant specifically represents its Fragrance-Free Shampoo +

Body Wash as safe and gentle for eyes:

                 Go forth and foam. To a baby, bath time is a crazy carnival of
                 wondrous sights and sounds. But don’t be fooled— there’s real


2
    http://babyganics.com/our-glossary/ (last visited November 7, 2016).
3
    http://babyganics.com/our-glossary/ (last visited May 30, 2017).
                                                 13
         Case 1:17-cv-04119-RJS Document 22 Filed 07/28/17 Page 14 of 72



               cleaning going on here and every bubble is safe for eyes and gentle
               on skin. Thick, soft, instant-foam gently cleanses from head to toe
               and rinses clean, leaving your baby’s hair and skin soft and
               nourished. Hey, we’re not foolin’ around here. 4

        33.    Defendant further touts on its website that the Products are safe, gentle and non-

irritating:

               Are Babyganics skincare products non-irritating?

               Absolutely. Our personal care products are tested by independent
               clinical laboratories to make sure they are non-sensitizing and non-
               irritating. We err on the side of caution and avoid using ingredients
               like parabens, phthalates and synthetic fragrance that could
               potentially cause an allergic reaction for those with developing,
               sensitive skin (your babies!). 5

        34.    In an effort to convince consumers that its products are safe, gentle, effective and

superior to other products on the market, Defendant has made the following representations on

its website, which ensures parents that its “goal is to create products that parents feel good about

using around their babies…”:


    •   Safety:

               For every product we make, we balance:
               Safety
               Is this product safe to use around babies?
               We create products that help parents care for their babies. If one
               of our products doesn’t help in that effort, we simply don't make
               it. 6

    •   Formulation and Testing



4
  http://babyganics.com/products/shampoo-body-wash-fragrance-free/ (last visited November 7,
2016) (emphasis added).
5
  http://babyganics.com/customer-service/ (last visited November 7, 2016).
6
  http://babyganics.com/our-standards/ (last visited May 23, 2017).
                                                14
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               How we formulate our products:

               Ingredient selection

               We always start with plant-based ingredients, organic when
               practical, as well as carefully chosen synthetics or preservatives
               needed to create the kind of formulas that work effectively and that
               parents can feel good about using around their babies.

               Our no’s

               Our list of “never use” ingredients come from sources such as EU,
               Canada and US lists of ingredients to avoid and refers to industry
               standards like NPA and EWG. We always ask “Is this something
               we'd confidently use around or on our babies?” If you see it on the
               shelf, the answer was “yes.” 7

                                               ***

               Our formulas themselves start with a combination of ingredients
               that we’ve thoroughly vetted, and we always exclude our list of
               ingredient “No’s.” Then we test the heck out of everything, from the
               necessary tests to specific additional ones depending on how a
               product will interact with you and your baby.

               At the same time we think long and hard about what we’re packing
               that product in, considering everything from usability to cost to
               how it impacts the environment.

               Finally, we evaluate every complete batch for pH, odor, color and
               more… 8

                                               ***

               Testing 1, 2, 3 (4, 5, 6…)

               We thoroughly test every product we create to make sure that the
               product is safe to use on and around babies.




7
    Id.
8
    Id.
                                               15
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                We put our products through the tests that are absolutely necessary
                AND those that go above and beyond what’s technically required
                depending on how a product will interact with you and your baby.

                Since we make such a variety of products, many of which require
                unique tests, you can bet we’ve got a pretty comprehensive list! 9

                We put a lot of thought into what we do (and into what we do
                not do).

                Formulation is about more than just a product’s “recipe.” The
                ingredients we choose (and the ones we don’t), the box, tube, or
                bottle we select for our formulas, and the kind of packaging material
                we use all play a role in creating our best possible product. 10

     •   Effectiveness

                Effectiveness

                If our products don’t work well, why would parents use it?

                We formulate products that do what they say they'll do, always
                keeping babies in mind, and continue to do it reliably over time. 11
         35.    Defendant’s ongoing practice of advertising, marketing, labeling, selling, and

representing the Products as “Tear Free” when, in fact, they contain proven eye irritants is likely

to deceive ordinary consumers of the Products and has deceived Plaintiffs.

         36.    By representing on the front of the Products’ packaging, in a highlighted graphic,

that the Products are “Tear Free”, Defendant leads reasonable consumers to believe that the

Products are non-irritating, safe and gentle, and will not cause eye irritation or other eye injuries.




9
  Id.
10
   Id.
11
   Id.
                                                 16
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         37.     Plaintiffs reasonably understood the labeling and marketing of the Products to

mean or imply to a reasonable consumer that the Products could not cause tearing from the eyes

and/or eye irritation.

         38.     Yet, in reality, the Products can and do cause eye irritation and injuries, including

burning and corneal injuries, when used in accordance with the instructions provided with the

Products by Defendant.

         39.     For instance, the parent of 2-year-old Hunter Jones sued Defendant after she

alleged that her young son suffered bilateral chemical burns, covering 90% of the surface of his

corneas, after using Defendant’s Night Time Baby Shampoo + Body Wash. 12

         40.     Further, and as discussed below, numerous consumers have complained online

that the Products have caused eye irritation and injuries to their children.

         41.     Based on the labeling and marketing of the Products, Plaintiffs reasonably

believed that the Products could not cause tearing from the eyes and/or eye irritation. Plaintiffs

purchased the Products in reliance on Defendant’s claims that the Products are “Tear Free”, safe,

and gentle.

         42.     As depicted herein, the Products’ labeling leads reasonable consumers to believe

that the Products are “Tear Free” and, thus, cannot cause tearing from the eyes and/or eye

irritation. Yet, the Products contain several ingredients that have been shown to cause eye

irritation, and testing reveals that the Products are, in fact, eye irritants.

         43.     Defendant knew, or reasonably should have known, that its representations that

the Products are “Tear Free” are false, deceptive, misleading, and unlawful.               Numerous

consumers have posted complaints on the Internet that the Products irritated their children’s eyes:



12
     Jones v. KAS Direct, LLC, Case No. 3:16-cv-02404 (S.D. Cal. 2016).
                                                   17
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      •      Foam beautifully. Smell super gross

      These soaps look pretty in packaging, have very safe ingredients, foam
      Beautifully, and last forever. Unfortunately, the orange blossom smell is gaggingly
      gross. The bath smelled gross, and my baby smelled gross afterwards. I almost
      threw them out- but couldn’t bear to waste such a “healthy soap.” I did keep the
      container and reuse it with my dr bronners soap! Also- it didn’t appear to be tear
      free. The baby cried when soap Got in his face- and he didn’t when other year
      free soaps got in his face. 13

      •      NOT Tear-Free

      This shampoo/ body wash is supposed to be tear-free, and it absolutely is not.
      When my baby started crying when it got in his eyes, I tried some in my eyes.
      It severely burned for about 2 minutes (even while rinsing my eye with water)
      and the rest of the day my vision in that eye was blurred. I will never buy another
      Babyganics product because of this. 14

      •      BURNS EYES! Not tear free!

      I accidentally got a little in my babies eye she immediatly stated crying and
      rubbing her eyes so I wondered of course If it hurt. I rinsed her eyes
      immediatly and then tested it on myslef, and my eyes burned!!! Both of our
      eyes were really red for a while and now two hours later my eye STILL
      burns.
      NOT SAFE.
      Also not convinced the ingredients are all that great. There are better options out
      there for. 15

      •      I've even had blurred vision the rest of the night out of that poor eye.
             Who makes a baby soap that stings

      This stings eyes. Seriously. My kids were freaking out when it would get in
      their eyes and I thought they were being babies. So I put some in my eye. Oh
      my word! I stings!!!! I've even had blurred vision the rest of the night out of
      that poor eye. Who makes a baby soap that stings eyes? I thought it was assumed
      that if it was made to wash a baby, it would be tear free. If it wasn't for that, I
      would give this 5 stars. 16


13
   https://www.amazon.com/Babyganics-Baby-Shampoo-Body-Fragrance/product-
reviews/B00FSCBQV2/ref=cm_cr_dp_qt_hist_one?ie=UTF8&filterByStar=one_star&reviewer
Type=avp_only_reviews&showViewpoints= (last visited November 17, 2016) (emphasis
added).
14
   Id.
15
   Id.
16
   Id.
                                              18
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       •      this isn't my favorite product from this brand

       Honestly, this isn’t my favorite product from this brand... and now I have three
       bottles!!!! This definitely stings my little one’s eyes like crazy, making it
       unusable. 17

       •      Not Tear Free- be careful!!!!

       This is not “Tear free”. My five year old got a chemical burn in his eyes after
       getting this soap in them at bath time. Please be careful when using it around
       small children. 18

       •      NOT tear free!!

       Two stars are for the natural ingredients & non-perfumey smell. However, it is
       definitely NOT tear-free as advertised. My daughter cries “hurts eyes!” every
       time we used it, and it left her with dry skin even though we only bathe her a few
       times per week. Would definitely not recommend. 19

       •      like they are irritated

       We tried the shampoo a few different times and he always ends up crying when
       the suds get in his eyes. His eyes also get red, like they are irritated. 20

       •      Jacky K:

       No not for us! It got my little guys eye swollen and he cried so much. I was so
       mad!...The bottle says it is but when we used it he cried so bad. The shrieking pain
       cry. And his eyes were so swollen and puffy for about 2 hours afterwards. I felt so
       bad. So now before I put any product on baby I try it on myself first. 21
Defendant’s Failure to Warn


17
   Id.
18
   https://www.amazon.com/Babyganics-Shampoo-Body-Wash-
Chamomile/dp/B01LQBFVPU?th=1” \l “customerReviews”
https://www.amazon.com/Babyganics-Shampoo-Body-Wash-
Chamomile/dp/B01LQBFVPU?th=1#customerReviews (last visited December 2, 2016).
19
   Id.
20
   https://www.amazon.com/Babyganics-Shampoo-Body-Wash-
Chamomile/dp/B01LQBFVPU?th=1” \l “customerReviews” (last visited December 2, 2016).
https://www.amazon.com/Babyganics-Shampoo-Body-Wash-
Chamomile/dp/B01LQBFVPU?th=1#customerReviews (last visited December 2, 2016).
21
   https://smartmom.co/questions/is-babyganics-tear-free (last visited December 2, 2016).




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       44.     Despite notice and knowledge of the eye irritation and injuries caused by the

Products via the numerous consumer complaints Defendant has directly received and which are

publicly available on the Internet, Defendant has failed and/or refused to provide an adequate

remedy for the systemic injuries caused by the Products. Defendant has not recalled, relabeled

or reformulated the Products, nor has it warned consumers about the dangers associated with

using the Products.

       45.     Plaintiffs and Class Members relied, to their detriment, on Defendant to

manufacture and distribute safe products. Instead, Defendant manufactured and distributed bath

products for infants and children that are defective in design and/or manufacture. This practice

must stop, and Defendant must be subjected to meaningful consequences of its abhorrent conduct

that can cause, and has caused, injuries to infants and children.

       46.     As a result of the false, deceptive and misleading statements on the Products’

packaging and corresponding advertising materials, Plaintiffs and the putative Class Members

purchased the Products with no reason to know or suspect the dangers associated with using the

Products. Not until eye irritation or other eye injuries occurred would a putative Class Member

have reason to know or suspect that the Products are defective.

       47.     Unknown to Plaintiffs and putative Class Members at the time of purchase, and

known to Defendant, the Products contain ingredients, or a combination of ingredients, that cause

eye irritation or other eye injuries upon proper application.

       48.     Defendant is aware that the Products cause eye irritation and/or injuries due to a

known material design or manufacturing defect. Despite Defendant’s knowledge, Defendant

failed to take reasonable steps to disclose to and/or warn Plaintiffs and putative Class Members

of the damages associated with using the Products.



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       49.     As the direct and proximate result of Defendant’s false, deceptive and/or

misleading statements, Plaintiffs and putative Class Members have suffered injury-in-fact and a

loss of money or property through the out-of-pocket costs expended to purchase the Products.

       50.     By marketing, selling, and distributing the Products to consumers throughout the

United States, Defendant made actionable statements that the Products were free of defects in

design and/or manufacture, and that they were safe and fit for their ordinary intended use and

purpose. Further, Defendant concealed what it knew or should have known about the safety risks

resulting from the material defects in the design and/or manufacture of the Products.

       51.     Defendant made the above-described actionable statements with the knowledge

that the representations were false, deceptive and/or misleading, and with the intent that

consumers rely on them.       Alternatively, Defendant was reckless in not knowing that the

representations were false, deceptive and/or misleading at the time that they were made.

                         PLAINTIFFS’ FACTUAL ALLEGATIONS

Plaintiff Tarina Skeen

       52.     After viewing advertisements and/or Product packaging for Babyganics

Chamomile Verbena Shampoo + Body Wash stating that the Product was “Tear Free”, Plaintiff

Tarina Skeen purchased the Babyganics Bath Product on approximately three (3) occasions

during the Class Period. Most recently, Plaintiff Skeen purchased Babyganics Chamomile

Verbena Shampoo + Body Wash during the week of May 15, 2017 from Publix in Daytona Beach,

Florida, for approximately $10.00.

       53.     Plaintiff Skeen specifically purchased this Babyganics Bath Product because she

reasonably believed Defendant’s representations that it was “Tear Free,” safe and gentle, and

would therefore not cause eye irritation and/or injury to her child.



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       54.     Plaintiff Skeen reasonably relied upon the deceptive and misleading “Tear Free”

claims in purchasing the Babyganics Bath Product.

       55.     Plaintiff Skeen used the Babyganics Bath Product on her four year-old and

seventeen month-old children shortly after she purchased it, and followed the Product directions

during application. At that time, Plaintiff Skeen’s four year-old son experienced extreme eye

irritation, including burning, pain and redness, from the Babyganics Bath Product, causing him

to cry from the pain and irritation.

       56.     Plaintiff Skeen previously used other “tear free” shampoo and body wash products

on her children, and her children did not experience any eye irritation and/or injury from those

products.

       57.     Plaintiff Skeen suffered injury by her purchase of this Babyganics Bath Product in

that she was deceived into purchasing the Babyganics Bath Product based on Defendant’s

representations that the Babyganics Bath Product was “Tear Free” and did not pose a risk of eye

irritation and/or injury to her children’s eyes.

       58.     At no time did Defendant provide Plaintiff Skeen with any warnings concerning

the potential dangers of using this Babyganics Bath Product.

       59.     Plaintiff Skeen would not have purchased the Babyganics Bath Product had she

known that it contained ingredients that are proven eye irritants and, thus, are not “Tear Free” and

are potentially dangerous for infants and children’s eyes.

Plaintiff Cheyenne Blanusa

       60.     After viewing advertisements and/or Product packaging for Babyganics Bath

Products, which stated that that the Products were “Tear Free”, Plaintiff Blanusa purchased a

Babyganics Essentials Set on March 6, 2017 from a Babies R Us located in West Covina,



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California for approximately $19.99. This Set included Chamomile Verbena Bubble Bath and

Chamomile Verbena Squeeze & Foam Shampoo + Body Wash, along with hand sanitizer, dish

soap and lotion.

        61.     Plaintiff Blanusa specifically purchased the Babyganics Bath Products because she

reasonably believed Defendant’s representations that the Products were “Tear Free,” safe and

gentle, and would therefore not cause eye irritation and/or injury to her child.

        62.     Plaintiff Blanusa reasonably relied upon the deceptive and misleading “Tear Free”

claims in purchasing the Babyganics Bath Products.

        63.     Plaintiff Blanusa used the Chamomile Verbena Squeeze & Foam Shampoo + Body

Wash on her two-month old son shortly after purchasing the Product, and followed the Product

directions during application.     At that time, Plaintiff Blanusa’s child experienced extreme

irritation, including burning, pain and redness, from the Babyganics Bath Product, causing her

child to cry.

        64.     After her child experienced extreme eye irritation as a result of using the

Babyganics Bath Product, Plaintiff Blanusa purchased another brand of shampoo labeled as “tear-

free” and has successfully used this shampoo on her child without incident.

        65.     Plaintiff Blanusa suffered injury by her purchase of the Babyganics Bath Products

in that she was deceived into purchasing the Babyganics Bath Products based on Defendant’s

representations that the Babyganics Bath Products were “Tear Free” and did not pose a risk of

eye irritation and/or injury to her child’s eyes.

        66.     At no time did Defendant provide Plaintiff Blanusa with any warnings concerning

the potential dangers of using the Babyganics Bath Products.




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       67.     Plaintiff Blanusa would not have purchased the Babyganics Bath Products had she

known that the Babyganics Bath Products contained ingredients that are proven eye irritants and,

thus, are not “Tear Free” and are potentially dangerous for infants and children’s eyes.

Plaintiff Malissa Brown

       68.     After viewing advertisements, online representations, printed representations

and/or Product packaging for Babyganics Bath Products, which stated that that the Products were

“Tear Free”, Plaintiff Brown purchased a Babyganics Night Time Kit, which included Orange

Blossom Night Time Shampoo + Body Wash, Orange Blossom Night Time Bubble Bath and

Orange Blossom Moisturizing Lotion, in March 2017 from a Babies R Us located in Santa Clara,

California for approximately $15.00.

       69.     Plaintiff Brown specifically purchased the Babyganics Bath Products because she

reasonably believed Defendant’s representations that the Products were “Tear Free,” safe and

gentle, and would therefore not cause eye irritation and/or injury to her child.

       70.     Plaintiff Brown reasonably relied upon the deceptive and misleading “Tear Free”

claims in purchasing the Babyganics Bath Products.

       71.     Plaintiff Brown used the Orange Blossom Night Time Shampoo + Body Wash and

Orange Blossom Night Time Bubble Bath on her fifteen-month old son shortly after purchasing

the Products, and followed the Product directions during application and use. At that time,

Plaintiff Brown’s child experienced eye irritation, and redness of eyes, along with extremely dry

skin, from these Babyganics Bath Products.

       72.     After her child experienced eye irritation as a result of using the Babyganics Bath

Products, Plaintiff Brown purchased another brand of shampoo labeled as “tear-free” and has

successfully used this shampoo on her child without incident.



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        73.     Plaintiff Brown suffered injury by her purchase of the Babyganics Bath Products

in that she was deceived into purchasing the Babyganics Bath Products based on Defendant’s

representations that the Babyganics Bath Products were “Tear Free” and did not pose a risk of

eye irritation and/or injury to her child’s eyes.

        74.     At no time did Defendant provide Plaintiff Brown with any warnings concerning

the potential dangers of using the Babyganics Bath Products.

        75.     Plaintiff Brown would not have purchased the Babyganics Bath Products had she

known that the Babyganics Bath Products contained ingredients that are proven eye irritants and,

thus, are not “Tear Free” and are potentially dangerous for infants and children’s eyes.

Plaintiff Natalie Vidal

        76.     After viewing advertisements and/or Product packaging for a Babyganics Bath

Product, which stated that that the Product was “Tear Free”, Plaintiff Vidal purchased Babyganics

Chamomile Verbena Squeeze & Foam Shampoo + Body Wash in 2017 from a Wal-Mart located

in Port Isabel, Texas for approximately $10.00.

        77.     Plaintiff Vidal specifically purchased the Babyganics Bath Product because she

reasonably believed Defendant’s representations that the Product was “Tear Free,” safe and

gentle, and would therefore not cause eye irritation and/or injury to her child.

        78.     Plaintiff Vidal reasonably relied upon the deceptive and misleading “Tear Free”

claims in purchasing the Babyganics Bath Product.

        79.     Plaintiff Vidal’s husband used the Chamomile Verbena Squeeze & Foam

Shampoo + Body Wash on her six year-old son in May 2017, and followed the Product directions

during application. At that time, Plaintiff Vidal’s child experienced extreme irritation and injury,




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including burning, pain, swelling and redness, along with light sensitivity, from the Babyganics

Bath Product, causing her child to scream and cry.

        80.     Plaintiff Vidal’s son continued to scream and cry after the bath was done,

prompting Plaintiff Vidal to take him to the emergency room, where his eyes were flushed twice

and he was diagnosed with chemical conjunctivitis.

        81.     Plaintiff Vidal’s son required additional medical attention following the use of the

Babyganics Bath Product and trip to the emergency room. Specifically, he required a subsequent

eye doctor appointment three days after use of the Babyganics Bath Product, at which time he

was diagnosed with an eye infection and prescribed Tobramycin-Dexamethasone eye drops.

        82.     On May 17, 18, 19, 22 and 24, 2017, Plaintiff Vidal sent emails to Defendant

wherein she provided notice of the details regarding the extreme irritation, including burning,

pain, swelling and redness, that her son experienced as a result of using the Babyganics Bath

Product.

        83.     After her child experienced extreme eye irritation, chemical conjunctivitis and

burning as a result of using the Babyganics Bath Product, Plaintiff Vidal purchased another brand

of shampoo labeled as “tear-free” and has successfully used this shampoo on her child without

incident.

        84.     Plaintiff Vidal suffered injury by her purchase of the Babyganics Bath Product in

that she was deceived into purchasing the Babyganics Bath Product based on Defendant’s

representations that the Babyganics Bath Product was “Tear Free” and did not pose a risk of eye

irritation and/or injury to her child’s eyes.

        85.     At no time did Defendant provide Plaintiff Vidal with any warnings concerning

the potential dangers of using the Babyganics Bath Products.



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       86.     Plaintiff Vidal would not have purchased the Babyganics Bath Product had she

known that the Babyganics Bath Product contained ingredients that are proven eye irritants and,

thus, is not “Tear Free” and is potentially dangerous for infants and children’s eyes.

Plaintiff Christina Timmermeier

       87.     After viewing advertisements and/or Product packaging for Babyganics Bath

Products stating that the Products were “Tear Free,” Plaintiff Christina Timmermeier purchased

a Babyganics Baby-Safe World Essentials Set, which included Chamomile Verbena Shampoo +

Body Wash, Chamomile Verbena Bubble Bath and five additional non-bath products, on or

around August 4, 2016 from Babies R Us in Brooklyn, New York for approximately $30.00.

       88.     Plaintiff Timmermeier specifically purchased these Babyganics Bath Products

because she reasonably believed Defendant’s representations that they were “Tear Free,” safe and

gentle, and would therefore not cause eye irritation and/or injury to her child.

       89.     Plaintiff Timmermeier reasonably relied upon the deceptive and misleading “Tear

Free” claims in purchasing the Babyganics Bath Products.

       90.     Plaintiff Timmermeier used the Babyganics Chamomile Verbena Shampoo +

Body Wash on her three month-old daughter after she purchased it. She followed the Product

directions during each application. Following each application, Plaintiff Timmermeier’s daughter

experienced eye irritation, including burning, pain and redness, from the Babyganics Bath

Product, causing her to cry from the pain and irritation.

       91.     Plaintiff Timmermeier previously used other “tear free” shampoo and body wash

products on her child, and her child did not experience any eye irritation and/or injury from those

products.




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        92.     Plaintiff Timmermeier suffered injury by her purchase of the Babyganics Bath

Products in that she was deceived into purchasing the Babyganics Bath Products based on

Defendant’s representations that the Babyganics Bath Products were “Tear Free” and did not pose

a risk of eye irritation and/or injury to her child’s eyes.

        93.     At no time did Defendant provide Plaintiff Timmermeier with any warnings

concerning the potential dangers of using the Babyganics Bath Products.

        94.     Plaintiff Timmermeier would not have purchased the Babyganics Bath Products

had she known that they contained ingredients that are proven eye irritants and, thus, are not “Tear

Free” and are potentially dangerous for infants and children’s eyes.

                               CLASS ACTION ALLEGATIONS

        95.     Plaintiffs bring this action on their own behalf, and on behalf of the following

Class and Subclasses pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and/or 23(b)(3). Specifically,

the Class and Subclasses are defined as:

                Class

                All persons and/or individuals who purchased Babyganics® brand
                Chamomile Verbena Conditioning Shampoo + Body Wash,
                Fragrance-Free Conditioning Shampoo + Body Wash, Fragrance-
                Free Bubble Bath, Chamomile Verbena Bubble Bath, Fragrance-
                Free Moisturizing Therapy Cream Wash, Orange Blossom Night
                Time Bubble Bath, Fragrance-Free Shampoo + Body Wash,
                Chamomile Verbena Shampoo + Body Wash, Chamomile Verbena
                Squeeze & Foam Shampoo + Body Wash, and/or Orange Blossom
                Night Time Shampoo + Body Wash in the United States or its
                territories between June 1, 2013 and the present.

                Florida Subclass

                All persons and/or individuals who purchased Babyganics® brand
                Chamomile Verbena Conditioning Shampoo + Body Wash,
                Fragrance-Free Conditioning Shampoo + Body Wash, Fragrance-
                Free Bubble Bath, Chamomile Verbena Bubble Bath, Fragrance-
                Free Moisturizing Therapy Cream Wash, Orange Blossom Night
                Time Bubble Bath, Fragrance-Free Shampoo + Body Wash,
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     Chamomile Verbena Shampoo + Body Wash, Chamomile Verbena
     Squeeze & Foam Shampoo + Body Wash, and/or Orange Blossom
     Night Time Shampoo + Body Wash in Florida between June 1,
     2013 and the present.

     California Subclass

     All purchasers and/or individuals who purchased Babyganics®
     brand Chamomile Verbena Conditioning Shampoo + Body Wash,
     Fragrance-Free Conditioning Shampoo + Body Wash, Fragrance-
     Free Bubble Bath, Chamomile Verbena Bubble Bath, Fragrance-
     Free Moisturizing Therapy Cream Wash, Orange Blossom Night
     Time Bubble Bath, Fragrance-Free Shampoo + Body Wash,
     Chamomile Verbena Shampoo + Body Wash, Chamomile Verbena
     Squeeze & Foam Shampoo + Body Wash, and/or Orange Blossom
     Night Time Shampoo + Body Wash in California between June 1,
     2013 and the present.

     New York Subclass

     All purchasers and/or individuals who purchased Babyganics®
     brand Chamomile Verbena Conditioning Shampoo + Body Wash,
     Fragrance-Free Conditioning Shampoo + Body Wash, Fragrance-
     Free Bubble Bath, Chamomile Verbena Bubble Bath, Fragrance-
     Free Moisturizing Therapy Cream Wash, Orange Blossom Night
     Time Bubble Bath, Fragrance-Free Shampoo + Body Wash,
     Chamomile Verbena Shampoo + Body Wash, Chamomile Verbena
     Squeeze & Foam Shampoo + Body Wash, and/or Orange Blossom
     Night Time Shampoo + Body Wash in New York between June 1,
     2013 and the present.

     Texas Subclass

     All purchasers and/or individuals who purchased Babyganics®
     brand Chamomile Verbena Conditioning Shampoo + Body Wash,
     Fragrance-Free Conditioning Shampoo + Body Wash, Fragrance-
     Free Bubble Bath, Chamomile Verbena Bubble Bath, Fragrance-
     Free Moisturizing Therapy Cream Wash, Orange Blossom Night
     Time Bubble Bath, Fragrance-Free Shampoo + Body Wash,
     Chamomile Verbena Shampoo + Body Wash, Chamomile Verbena
     Squeeze & Foam Shampoo + Body Wash, and/or Orange Blossom
     Night Time Shampoo + Body Wash in Texas between June 1, 2013
     and the present.




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       96.     Excluded from the Class and Subclasses are (a) any person who purchased the

Products for resale and not for personal or household use, (b) any person who signed a release of

Defendant in exchange for consideration, (c) any officers, directors or employees, or immediate

family members of the officers, directors or employees, of Defendant or any entity in which

Defendant has a controlling interest, (d) any legal counsel or employee of legal counsel for

Defendant, and (e) the presiding Judge in the Lawsuit, as well as the Judge’s staff and their

immediate family members.

       97.     Plaintiffs reserve the right to amend the definition of the Class and/or Subclasses

if discovery or further investigation reveals that the Class and/or Subclasses should be expanded

or otherwise modified.

       98.     Numerosity. Class Members are so numerous and geographically dispersed that

joinder of all Class Members is impracticable. While the exact number of Class Members remains

unknown at this time, upon information and belief, there are thousands, if not hundreds of

thousands, of putative Class Members. Class Members may be notified of the pendency of this

action by mail and/or electronic mail, which can be supplemented if deemed necessary or

appropriate by the Court with published notice.

       99.     Predominance of Common Questions of Law and Fact. Common questions of

law and fact exist as to all Members of the Class and predominate over any questions affecting

only individual Class Members. These common legal and factual questions include, but are not

limited to, the following:

       a. Whether Defendant engaged in fraudulent, unfair, unlawful, or deceptive business

practices by falsely representing that the Products are “Tear Free”;

       b. Whether Defendant failed to comply with applicable warranties;



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        c. Whether Defendant’s conduct constitutes a breach of applicable warranties;

        d. Whether the Products can and do cause tearing from the eyes, eye irritation, and/or

injuries when used as directed by Defendant;

        e. Whether and when Defendant knew or should have known that the Products can and do

cause tearing from the eyes, eye irritation, and/or injuries when used as directed by Defendant;

        f. Whether the Products contain design defects;

        g. Whether the Products are defective in their manufacture;

        h. Whether Defendant was unjustly enriched by the conduct described herein;

        i. Whether Defendant’s acts and misrepresentations of material facts violated certain state

deceptive practice acts, including those of California, Florida and New York;

        j. Whether Defendant engaged in unfair, unlawful and/or fraudulent business practices

under California law;

        k. Whether Defendant’s use of false or deceptive “Tear Free” advertising constituted false

advertising under California Law;

        l. Whether Plaintiffs and putative Class Members have suffered an ascertainable loss of

monies or property or other value as a result of Defendant’s acts and misrepresentations of

material facts;

        m. Whether Plaintiffs and putative Class Members are entitled to monetary damages and,

if so, the nature of such relief; and

        n. Whether Plaintiffs and putative Class Members are entitled to equitable, declaratory or

injunctive relief and, if so, the nature of such relief.

        100.      Typicality. Plaintiffs’ claims are typical of the claims of the Members of the

putative Class, as each putative Class Member was susceptible to the same deceptive, misleading,



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conduct and purchased the Defendant’s Babyganics Bath Products. Further, each putative Class

Member was subject to the same common, inherent defect in the Products. Plaintiffs share the

aforementioned facts and legal claims or questions with putative Class Members, and Plaintiffs

and all putative Class Members have been similarly affected by Defendant’s common course of

conduct alleged herein. Plaintiffs and all putative Class Members sustained monetary and

economic injuries including, but not limited to, ascertainable loss arising out of Defendant’s

wrongful conduct as alleged herein.

       101.    Adequacy. Plaintiffs are adequate Class representatives because their interests do

not conflict with the interests of the Class Members they seek to represent; their claims are

common to all members of the Class and they have a strong interest in vindicating their rights.

Plaintiffs will fairly and adequately represent and protect the interests of the putative Class.

Plaintiffs have retained counsel with substantial experience in handling complex class action

litigation, including the questions that arise in this type of consumer protection litigation. Further,

Plaintiffs and their counsel are committed to the vigorous prosecution of this action.

       102.    Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the present controversy for at least the following reasons:

       a. The damages suffered by each individual putative Class Member do not justify the

burden and expense of individual prosecution of the complex and extensive litigation necessitated

by Defendant’s conduct;

       b. Even if individual Class Members had the resources to pursue individual litigation, it

would be unduly burdensome to the courts in which the individual litigation would proceed;

       c. The claims presented in this case predominate over any questions of law or fact affecting

individual Class Members;



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       d. Individual joinder of all putative Class Members is impracticable;

       e. Absent a class, Plaintiffs and putative Class Members will continue to suffer harm as a

result of Defendant’s unlawful conduct; and

       f. This action presents no difficulty that would impede its management by the Court as a

class action, which is the best available means by which Plaintiffs and putative Class Members

can seek redress for the harm caused by Defendant.

       103.     In the alternative, the Class may be certified for the following reasons:

       a. The prosecution of separate actions by individual Class Members would create a risk

of inconsistent or varying adjudication with respect to individual Class Members, which would

establish incompatible standards of conduct for Defendant;

       b. Adjudications of individual Class Member’s claims against Defendant would, as a

practical matter, be dispositive of the interests of other putative Class Members who are not

parties to the adjudication and may substantially impair or impede the ability of other putative

Class Members to protect their interests; and

       c. Defendant has acted or refused to act on grounds generally applicable to the putative

Class, thereby making appropriate final and injunctive relief with respect to the putative Class as

a whole.

       104.     Pursuant to Rule 23(b)(2), Defendant has acted or refused to act on grounds

generally applicable to the putative Class, thereby making final injunctive or corresponding

declaratory relief appropriate with respect to the putative Class as a whole. In particular,

Defendant has engaged in conduct resulting in misleading consumers about the ingredients and

safety of its Products. Further, Defendant has designed, manufactured, marketed, sold and/or

distributed defective Products, which Defendant knows or should have known cause injuries to



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consumers upon using the Products as directed by Defendant, and provided no disclosure or

warning to consumers regarding these severe consequences.

       105.    Defendant’s conduct has been uniformly directed at all consumers in the United

States, and the conduct continues presently. Thus, injunctive relief on a class-wide basis is a

viable and suitable solution to remedy Defendant’s continuing misconduct.

       106.    Plaintiffs would purchase the Products again if the ingredients and/or combination

of ingredients and/or formula were changed so that the Products were, in fact, “Tear Free” as

represented by Defendant.

                                     CAUSES OF ACTION

                                     COUNT I
              VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                             (15 U.S.C. § 2301, et seq.)
                        (on behalf of the Nationwide Class)

       107.    Plaintiffs repeat and re-allege the allegations in paragraphs 1 through 106 as

though fully set forth herein.

       108.    Plaintiffs assert this cause of action on behalf of the Class.

       109.    Defendant sold the Products as part of its regular course of business.

       110.    Plaintiffs and putative Class Members purchased the Products either directly from

Defendant or through authorized retailers, such as Publix grocery store, Babies R Us, and Wal-

Mart, among others.

       111.    The Magnuson–Moss Warranty Act, 15 U.S.C. §§ 2301, et seq., (“MMWA”)

provides a cause of action for any consumer who is damaged by the failure of a warrantor to

comply with a written warranty.




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          112.   The Products are “consumer product[s]” as that term is defined by 15 U.S.C. §

2301(1), as they constitute tangible personal property and are distributed in commerce and are

normally used for personal, family or household purposes.

          113.   Plaintiffs and Members of the putative Class are “consumers” and “buyers” as

defined by 15 U.S.C. § 2301(3), since they are buyers of the Products for purposes other than

resale.

          114.   Defendant is an entity engaged in the business of making and selling baby and

children’s bath products, either directly or indirectly, to consumers such as Plaintiffs and the

putative Class. As such, Defendant is a “supplier” as defined in 15 U.S.C. § 2301(4).

          115.   The amount in controversy meets or exceeds the sum or value of $50,000

(exclusive of interest and costs) computed on the basis of all claims asserted in this lawsuit.

Further, the Class includes over 100 individuals.

          116.   Defendant made promises and representations in express warranties provided to

all consumers, which became the basis of the bargain between Plaintiffs, putative Class Members

and Defendant. Defendant expressly warranted that the Products were fit for their intended

purposes by making the express warranties that the Products are “Tear Free”.

          117.   Defendant’s aforementioned written affirmations of fact, promises and/or

descriptions, as alleged, are each a “written warranty.” The affirmations of fact, promises and/or

descriptions constitute a “written warranty” within the meaning of the MMWA.

          118.   Defendant breached the applicable warranty because the Products suffer from

latent and/or inherent defects that cause substantial injuries, rendering the Products unfit for their

intended use and purpose. These defects substantially impair the use, value and safety of the

Products.



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       119.    The latent and/or inherent defects at issue herein existed when the Products left

Defendant’s possession or control and were sold to Plaintiffs and putative Class Members. The

defects were not discoverable by Plaintiffs and putative Class Members at the time of their

purchase of the Products.

       120.    All conditions precedent to seeking liability under this claim for breach of express

warranty have been performed by or on behalf of Plaintiffs and others in terms of paying for the

goods at issue. Defendant was placed on reasonable notice of the defects in its Products and its

breach of the warranty, and has failed to cure the defects for Plaintiffs and putative Class

Members, despite having significant time to do so.

       121.    Plaintiff Skeen used Babyganics Chamomile Verbena Shampoo + Body Wash on

her child shortly after purchasing the Product. At that time, Plaintiff Skeen’s child experienced

extreme eye irritation from the Product.

       122.    Plaintiff Blanusa used Babyganics Chamomile Verbena Squeeze & Foam

Shampoo + Body Wash on her child shortly after purchasing the Product. At that time, Plaintiff

Blanusa’s child experienced extreme eye irritation from the Product.

       123.    Plaintiff Brown used Orange Blossom Night Time Shampoo + Body Wash and

Orange Blossom Night Time Bubble Bath on her child shortly after purchasing the Products. At

that time, Plaintiff Brown’s child experienced eye irritation from the Products.

       124.    Plaintiff Vidal used Chamomile Verbena Squeeze & Foam Shampoo + Body Wash

on her child shortly after purchasing the Product. At that time, Plaintiff Vidal’s child experienced

extreme eye irritation and burning from the Product.

       125.    Plaintiff Timmermeier used the Babyganics Chamomile Verbena Shampoo +

Body Wash on her three month-old daughter shortly after she purchased the Product. At that



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time, Plaintiff Timmermeier’s daughter experienced extreme eye irritation, including burning,

pain and redness from the Product.

       126.    Defendant breached its express warranties as the Products did not contain the

properties they were represented to possess.

       127.    Defendant’s breaches of warranties have caused Plaintiffs and putative Class

Members to suffer injuries, pay for defective Products, and enter into transactions they would not

have entered into for the consideration paid. As a direct and proximate result of Defendant’s

breaches of warranties, Plaintiffs and putative Class Members have suffered damages and

continue to suffer damages, including economic damages in terms of the cost of the Products.

       128.    As a result of Defendant’s breaches of these warranties, Plaintiffs and putative

Class Members are entitled to legal and equitable relief including damages, costs, attorneys’ fees,

rescission, and all such other relief deemed appropriate, for an amount to compensate them for

not receiving the benefit of their bargain. Plaintiffs and the putative Class therefore seek and are

entitled to recover damages and other legal and equitable relief, injunctive relief and costs and

expenses (including attorneys’ fees based upon actual time expended), as provided in 15 U.S.C.

§ 2310(d).



                                          COUNT II
                                           FRAUD
                   (on behalf of the Nationwide Class and State Subclasses)

       129.    Plaintiffs repeat and re-allege the allegations in paragraphs 1 through 106 as

though fully set forth herein.

       130.    Plaintiffs assert this cause of action on behalf of the Nationwide Class and State

Subclasses.



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        131.       As alleged herein, Defendant knowingly made material misrepresentations and

omissions regarding the Products on their packaging, website and in advertisements.

        132.       Defendant made these material misrepresentations and omissions in order to

induce Plaintiffs and putative Class Members to purchase the Products.

        133.       Rather than inform consumers about the dangers associated with using the

Products, including the risk of eye irritation and/or eye injury, Defendant represented the Products

were “Tear Free” and safe and gentle.

        134.       The Products are not “Tear Free” as described on their packages. Rather, they are

composed of several ingredients that are proven eye irritants. Further, testing of the Products has

shown that they are moderate eye irritants and has also revealed that the Products have Ph levels

below the neutral Ph level of 7, indicating that Products contain chemicals or other substances

that are acidic.

        135.       Defendant knew the Products were not “Tear Free” but nevertheless made such

representations through its marketing, advertising and Product labeling. In reliance on these and

other similar representations, Plaintiffs and putative Class Members were induced to, and did pay

monies, to purchase the Products.

        136.       Had Plaintiffs known the truth about the dangers and hazards associated with the

Products, they would not have purchased the Products.

        137.       As a proximate result of the fraudulent conduct of Defendant, Plaintiffs and the

putative Class paid monies to Defendant through their regular retail sales channels, to which

Defendant is not entitled, and have been damaged in an amount to be proven at trial.

                                             COUNT III
                             NEGLIGENT MISREPRESENTATION
                      (on behalf of the Nationwide Class and State Subclasses)



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       138.    Plaintiffs repeat and re-allege the allegations in paragraphs 1 through 106 as

though fully set forth herein.

       139.    Plaintiffs assert this cause of action on behalf of the Nationwide Class and State

Subclasses.

       140.    As set forth above, Defendant marketed and advertised the Products as “Tear

Free”, gentle, non-allergenic, and safe for infants and children.

       141.    Contrary to Defendant’s representations, the Products are not “Tear Free” as

described on their packages. Rather, they are composed of several ingredients that are proven

eye irritants. Further, testing of the Products has shown that they are, in fact, moderate eye

irritants and has also revealed that the Products have Ph levels below the neutral Ph level of 7,

indicating that Products contain chemicals or other substances that are acidic.

       142.    Defendant negligently misrepresented material facts about the Products’

dangerous nature.

       143.    Defendant breached its duty to disclose the dangerous nature of the Products to

consumers.

       144.    Defendant breached its duty by failing to disclose this information to Plaintiffs and

putative Class Members and by misrepresenting the Products as “Tear Free,” gentle, non-

allergenic, and safe for infants and children, when they are not.

       145.    At the time Defendant made these false representations to consumers, Defendant

knew or should have known that these representations were incorrect as the Products were

unreasonably dangerous and had caused injuries to consumers.




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        146.    The misrepresentations made by Defendant, upon which Plaintiffs and other Class

and Subclass Members reasonably and justifiably relied, were intended to induce and did actually

induce Plaintiffs, Class and Subclass Members to purchase the Products.

        147.    Plaintiffs did not know that Defendant’s representations were false and, therefore,

were justified in their reliance.

        148.    The information withheld from Plaintiffs and putative Class and Subclass

Members is material to reasonable consumers.

        149.    Had Plaintiffs, Class and Subclass Members known the truth about the dangers

associated with the Products, they would not have purchased the Products.

        150.    As a direct and proximate result of Defendant’s negligent misrepresentations

described herein, Plaintiffs sustained injuries and damages as alleged herein.

        151.    Plaintiffs are entitled to compensatory damages and such other and further relief

as this Court deems just and proper.

                                  COUNT IV
  VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
          ACT, §501.201, ET SEQ., FLORIDA STATUTES (“FDUTPA”)
                         (on behalf of Florida Subclass)

        152.    Plaintiff Skeen repeats and re-alleges the allegations in paragraphs 1 through 106

as though fully set forth herein.

        153.    Plaintiff Skeen asserts this cause of action on behalf of herself and the Florida

Subclass.

        154.    Plaintiff Skeen and the Florida Subclass Members are “consumers” as defined by

Florida Statute §501.203(7), and the subject transactions are “trade or commerce” as defined by

Florida Statute §501.203(8).

        155.    At all times material to this action, Defendant was responsible for designing,

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formulating, testing, manufacturing, inspecting, packaging, marketing, distributing, supplying

and/or selling the Products to Plaintiff Skeen and Florida Subclass Members. The Products are

“goods” within the meaning of FDUTPA.

       156.    FDUPTA was enacted to protect the consuming public and legitimate business

enterprises from those who engage in unfair methods of competition, or unconscionable,

deceptive, or unfair acts or practices in the conduct of any trade or commerce.

       157.    For the reasons discussed herein, Defendant violated and continues to violate

FDUPTA by engaging in the herein described unconscionable, deceptive, unfair acts or practices

proscribed by Florida Statute §501.201, et seq. Defendant’s omissions and practices described

herein were likely to, and did in fact, deceive and mislead members of the public, including

consumers acting reasonably under the circumstances, to their detriment.

       158.    Defendant’s actions constitute unconscionable, deceptive or unfair acts or

practices. Defendant’s omitted material facts regarding the dangers and hazards associated with

the Products by representing the Products as ““Tear Free,” gentle, non-allergenic, and safe for

infants and children, when they are not.

       159.    Defendant failed to disclose that the Products can cause and have caused injuries

when used as intended and has engaged in immoral, unethical, oppressive, and unscrupulous

activities that are substantially injurious to consumers, in violation of FDUTPA.

       160.    Specifically, Defendant engaged in the following deceptive and misleading

conduct in violation of FDUTPA:

           a. Defendant designed, formulated, manufactured, inspected, packaged, marketed,

               distributed, supplied and/or sold the Products, which it represented as “Tear Free,”

               gentle, non-allergenic, and safe for infants and children, when it knew, or should



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               have known, that they were materially defective, not “Tear Free” and could cause,

               and had caused, tearing from the eyes, eye irritation, and other eye injuries;

           b. Defendant knew the defect in the Products was unknown to and would not be

               easily discovered by Plaintiff Skeen and Florida Subclass Members, and would

               defeat their ordinary, foreseeable and reasonable expectations concerning the

               performance of the Products;

           c. Defendant failed to warn consumers that the Products could cause tearing from the

               eyes, eye irritation, and other eye injuries, when used as intended.

       161.    Rather than warn consumers about the dangers and hazards associated with the

intended use of the Products, Defendant represented the Products as a “Tear Free,” gentle, non-

allergenic, and safe for infants and children.

       162.    Contrary to Defendant’s representations, the Products are not “Tear Free” as

described on their packages. Rather, they are composed of several ingredients that are proven

eye irritants. Further, testing of the Products has shown that they are, in fact, moderate eye

irritants and has also revealed that the Products have Ph levels below the neutral Ph level of 7,

indicating that Products contain chemicals or other substances that are acidic.

       163.    Plaintiff Skeen and Florida Subclass Members suffered damages when they

purchased the Products, which were materially defective. Defendant’s unconscionable, deceptive

and/or unfair practices caused actual damages to Plaintiff Skeen and Florida Subclass Members

who were unaware of the Products’ defects at the time of purchase.

       164.    Defendant’s acts and omissions regarding the Products, as described herein, were

likely to – and did – deceive consumers acting reasonably under the circumstances. Consumers,

including Plaintiff Skeen and putative Florida Subclass Members, would not have purchased the



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Products had they known about the damages and hazards associated with the intended use of the

Products as directed by Defendant.

        165.    As a direct and proximate result of Defendant’s unconscionable, unfair and

deceptive acts, practices and omissions alleged herein, Plaintiff Skeen and Florida Subclass

Members have been damaged and are entitled to recover actual damages to the extent permitted

by law, including class action rules, in an amount to be proven at trial.     In addition, Plaintiff

Skeen and the Florida Subclass Members seek equitable and injunctive relief against Defendant

on terms that the Court considers reasonable, and reasonable attorneys’ fees and costs.

        166.    Plaintiff Skeen and the Florida Subclass Members reserve the right to allege other

violations of FDUTPA as Defendant’s conduct is ongoing.

                                              COUNT V
                                BREACH OF EXPRESS WARRANTY
                                  (on behalf of the State Subclasses)

        167.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 106

as if fully set forth herein.

        168.    Plaintiffs bring this Count individually and on behalf of the State Subclasses.

        169.    Plaintiffs and the Subclass Members purchased the Babyganics Bath Products

either directly from Defendant or through authorized retailers, such as Publix grocery store,

Walmart and Babies R Us, among others.

        170.    Plaintiffs and each member of the Subclasses formed a contract with Defendant at

the time Plaintiffs and other members of the Subclasses purchased the Babyganics Bath Products.




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The terms of that contract include the promises and affirmations of fact made by Defendant on

their product labels and through their marketing campaign.

       171.    Defendant expressly warranted to the public, including Plaintiffs and Subclass

Members, that the Products were fit for their intended purpose in that the Products are “Tear

Free,” gentle, non-allergenic, and safe for infants and children, and have “been found to be non-

irritating to the eyes in an independent, clinical test.” This product labeling and advertising

constitutes express warranties, became part of the basis of the bargain, and is part of a

standardized contract between Plaintiffs and the Subclass Members on the one hand, and

Defendant on the other.

       172.    Defendant breached the terms of its contract, including the express warranties,

with Plaintiffs and Subclass Members by not providing a product which could provide the benefits

described above. In particular, Defendant has breached its contract, including the express

warranties with Plaintiffs and Subclass Members, in that the Products are not “Tear Free gentle,

non-allergenic, and safe for infants and children,” as described on their product labels and through

their marketing campaign. Rather, they are composed of several ingredients that are proven eye

irritants. Further, testing of the Products has shown that they are, in fact, moderate eye irritants

and has also revealed that the Products have Ph levels below the neutral Ph level of 7, indicating

that Products contain chemicals or other substances that are acidic.

       173.    The defect in the Babyganics Bath Products existed at the time the Products left

Defendant’s control.

       174.    All conditions precedent to seeking liability under this claim for breach of express

warranty have been performed by or on behalf of Plaintiffs and others.




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       175.    As a proximate result of Defendant’s breach of contract and warranties, Plaintiffs

and Subclass Members have been damaged in an amount to be determined at trial.



                                  COUNT VI
         UNFAIR AND DECEPTIVE TRADE PRACTICES IN VIOLATION OF
                        NEW YORK GBL § 349, et seq.
                       (on behalf of New York Subclass)

       176.    Plaintiff Timmermeier repeats and realleges the allegations contained in

paragraphs 1 through 106 as if fully set forth herein.

       177.    Plaintiff Timmermeier brings this Count individually and on behalf of the New

York Subclass.

       178.    Defendant’s foregoing acts and practices, including its omissions, were directed at

consumers.

       179.    Defendant’s foregoing deceptive acts and practices, including its omissions, were

material, in part, because they concerned an essential part of the Babyganics Bath Products’

ingredients, functionality and safety.

       180.    Defendant omitted material facts regarding the Babyganics Bath Products by

failing to disclose that the Products can cause and have caused injuries when used as intended.

Rather than inform consumers about the dangers associated with using the Products, including

the risk of eye irritation and/or eye injury, Defendant represented the Products were “Tear Free”

and safe and gentle.

       181.    The Products are not “Tear Free” as described on their packages. Rather, they are

composed of several ingredients that are proven eye irritants. Further, testing of the Products has

shown that they are moderate eye irritants and has also revealed that the Products have Ph levels




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below the neutral Ph level of 7, indicating that Products contain chemicals or other substances

that are acidic.

        182.       Defendant knew the Products were not “Tear Free” but nevertheless made such

representations through its marketing, advertising and Product labeling.

        183.       Defendant’s foregoing deceptive acts and practices, including its omissions, were

and are deceptive acts or practices in violation of New York’s General Business Law section 349,

Deceptive Acts and Practices, N.Y. Gen. Bus. Law 349, et seq., in that:

            a. Defendant designed, formulated, manufactured, inspected, packaged, marketed,

                   distributed, supplied and/or sold the Products, which it represented as “Tear Free,”

                   gentle, non-allergenic, and safe for infants and children, when it knew, or should

                   have known, that they were materially defective, not “Tear Free” and could cause,

                   and had caused, tearing from the eyes, eye irritation, and other eye injuries;

          b. Defendant knew the defect in the Products was unknown to and would not be easily

               discovered by Plaintiff Timmermeier and New York Subclass Members, and would

               defeat their ordinary, foreseeable and reasonable expectations concerning the

               performance of the Products;

          c. Defendant failed to warn consumers that the Products could cause tearing from the

               eyes, eye irritation, and other eye injuries, when used as intended.

        184.       Plaintiff Timmermeier and the New York Subclass Members suffered damages

when they purchased the Babyganics Bath Products, which were materially defective.

Defendant’s unconscionable, deceptive and/or unfair practices caused actual damages to Plaintiff

Timmermeier and the New York Subclass Members, who were unaware at the time of purchase




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that the Babyganics Bath Products were not “Tear Free” and could cause, and had caused, tearing

from the eyes, eye irritation, and other eye injuries.

        185.    Defendant’s foregoing deceptive acts and practices, including its omissions, were

likely to deceive, and did deceive, consumers acting reasonably under the circumstances.

Consumers, including Plaintiff Timmermeier and putative New York Subclass Members, would

not have purchased the Babyganics Bath Products had they known that the Babyganics Bath

Products were not “Tear Free” and could cause, and had caused, tearing from the eyes, eye

irritation, and other eye injuries.

        186.    As a direct and proximate result of Defendant’s deceptive acts and practices,

including its omissions, Plaintiff Timmermeier and New York Subclass Members have been

damaged as alleged herein, and are entitled to recover actual damages to the extent permitted by

law, including class action rules, in an amount to be proven at trial.

        187.    In addition, Plaintiff Timmermeier and New York Subclass Members seek

equitable and injunctive relief against Defendant on terms that the Court considers reasonable,

and reasonable attorneys’ fees and costs.

                                       COUNT VII
                     CALIFORNIA’S FALSE ADVERTISING LAW
                   CAL. BUS. & PROF. CODE §§17500, ET SEQ. (“FAL”)
                          (on behalf of the California Subclass)

        188.    Plaintiff Blanusa and Plaintiff Brown repeat and reallege the allegations contained

in paragraphs 1 through 106 as if fully set forth herein.

        189.    Plaintiff Blanusa and Plaintiff Brown bring this Count individually and on behalf

of the California Subclass.

        190.    California’s FAL (Bus. & Prof. Code §§17500, et seq.) makes it “unlawful for any

person to make or disseminate or cause to be made or disseminated before the public in this state,

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. . . in any advertising device . . . or in any other manner or means whatever, including over the

Internet, any statement, concerning . . . personal property or services, professional or otherwise,

or performance or disposition thereof, which is untrue or misleading and which is known, or

which by the exercise of reasonable care should be known, to be untrue or misleading.”

       191.    Defendant committed acts of false advertising, as defined by the FAL, by using

false and misleading statements, and material omissions, to promote the sale of the Products, as

described above, and including, but not limited to, representing that the Products were “Tear

Free”, gentle, non-allergenic, and safe for infants and children when, in fact, they contain

chemicals and other substances that are eye irritants. The Products are not “Tear Free” as

described on their packages. Rather, they are composed of several ingredients that are proven

eye irritants. Further, testing of the Products has shown that they are, in fact, moderate eye

irritants and has also revealed that the Products have Ph levels below the neutral Ph level of 7,

indicating that Products contain chemicals or other substances that are acidic.

       192.    Defendant knew or should have known, through the exercise of reasonable care,

that their statements were untrue and misleading.

       193.    Defendant’s actions and omissions in violation of the FAL were false and

misleading such that the general public is and was likely to be deceived.

       194.    As a direct and proximate result of these acts and omissions, consumers have been

and are being harmed. Plaintiff Blanusa, Plaintiff Brown, and Members of the California Subclass

have suffered injury and actual out-of-pocket losses as a result of Defendant’s FAL violation

because: (a) Plaintiff Blanusa, Plaintiff Brown, and California Subclass Members would not have

purchased the Products if they had known the true facts; (b) Plaintiff Blanusa, Plaintiff Brown,

and California Subclass Members purchased the Products due to Defendant’s misrepresentations



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and omissions; and (c) the Products did not have the level of quality, effectiveness, or value as

promised.

       195.    Plaintiff Blanusa and Plaintiff Brown bring this action pursuant to Bus. & Prof.

Code § 17535 for injunctive relief to enjoin the practices described herein and to require

Defendant to issue corrective disclosures to consumers. Plaintiff Blanusa, Plaintiff Brown, and

the California Subclass are therefore entitled to: (a) an order requiring Defendant to cease the acts

of unfair competition alleged herein; (b) full restitution of all monies paid to Defendant as a result

of its deceptive practices; (c) interest at the highest rate allowable by law; and (d) the payment of

Plaintiffs’ attorneys’ fees and costs pursuant to, inter alia, California Code of Civil Procedure

§1021.5.



                                       COUNT VIII
                 VIOLATION OF THE CONSUMERS LEGAL REMEDIES ACT
                      CAL. CIVIL CODE §§ 1750, ET SEQ. (“CLRA”)
                           (on behalf of the California Subclass)

       196.    Plaintiff Blanusa and Plaintiff Brown repeat and reaallege the allegations

contained in paragraphs 1 through 106 as if fully set forth herein.

       197.    Plaintiff Blanusa and Plaintiff Brown bring this Count individually and on behalf

of the California Subclass.

       198.    This cause of action is brought pursuant to the California Consumers Legal

Remedies Act, California Civil Code § 1750, et seq.

       199.    Defendant’s actions, representations and conduct have violated, and continue to

violate the CLRA, because they extend to transactions that are intended to result, or which have

resulted, in the sale or lease of goods or services to consumers.




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       200.    Plaintiff Blanusa, Plaintiff Brown, and other California Subclass Members are

“consumers” as that term is defined by the CLRA in California Civil Code § 1761(d).

       201.    The Products that Plaintiff Blanusa, Plaintiff Brown, and other similarly situated

California Subclass Members purchased from Defendant were “goods” within the meaning of

California Civil Code § 1761(a).

       202.    By engaging in the actions, representations and conduct set forth in this complaint,

Defendant has violated, and continue to violate, §1770(a)(5), § 1770(a)(7), and § 1770(a)(9) of

the CLRA. In violation of California Civil Code §1770(a)(5), Defendant’s acts and practices

constitute improper representations that the goods they sell have sponsorship, approval,

characteristics, ingredients, uses, benefits, or quantities, which they do not have. In violation of

California Civil Code §1770(a)(7), Defendant’s acts and practices constitute improper

representations that the goods they sell are of a particular standard, quality, or grade, when they

are of another. In violation of California Civil Code §1770(a)(9), Defendant has advertised goods

or services with intent not to sell them as advertised.

       203.    Specifically, Defendant’s acts and practices led customers to falsely believe that

that its Products were “Tear Free” when it knew all such representations to be false and/or

misleading. Plaintiff Blanusa and Plaintiff Brown request that this Court enjoin Defendant from

continuing to employ the unlawful methods, acts and practices alleged herein pursuant to

California Civil Code § 1780(a)(2). If Defendant is not restrained from engaging in these types

of practices in the future, Plaintiff Blanusa, Plaintiff Brown, and the Members of the California

Subclass will continue suffer harm. Plaintiff Blanusa and Plaintiff Brown further request this

Court to order restitution to each of them and each member of the California Subclass.




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       204.    CLRA § 1782 NOTICE. On June 1, 2017, counsel for Plaintiffs provided written

notice of their intent to pursue claims under the CLRA and an opportunity to cure to Defendant

via certified mail to Defendant’s headquarters at 1600 Stewart Avenue, Suite 411, Westbury, NY

11590. The domestic return receipt indicates the letter was delivered and signed for on June 5,

2017. California Civil Code § 1782. Defendant responded to the letter wherein it denied the

allegations therein and rejected Plaintiffs’ full demand. True and correct copies of the June 1,

2017 notice letter and the related return receipts are attached hereto as Exhibit A.

       205.    To date, Defendant has taken no action to remedy its deceptive advertising scheme

or otherwise address all of the CLRA violations and all of the associated harm outlined in the

aforementioned letter. Thus, Plaintiffs hereby amend their complaint pursuant to Cal. Civ. Code

§ 1782(b) and (d) to seek actual and punitive damages, in addition to restitution, injunctive relief,

attorneys’ fees and any other relief the Court deems proper.

       206.    Plaintiff Blanusa and Plaintiff Brown also request that this Court award them costs

and reasonable attorneys’ fees pursuant to California Civil Code § 1780(d).

       207.    Affidavits of Plaintiff Blanusa and Plaintiff Brown stating facts showing that

venue in this District is proper pursuant to Cal. Civ. Code § 1780(d) are attached hereto as Exhibit

B.

                                       COUNT IX
                       VIOLATION OF THE UNFAIR PRONG OF
                    CALIFORNIA’S UNFAIR COMPETITION LAW
                  CAL. BUS. & PROF. CODE §§ 17200, ET SEQ. (“UCL”)
                          (on behalf of the California Subclass)
       208.    Plaintiff Blanusa and Plaintiff Brown repeat and reallege the allegations contained

in paragraphs 1 through 106 as if fully set forth herein.

       209.    Plaintiff Blanusa and Plaintiff Brown bring this Count individually and on behalf

of the California Subclass.

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        210.    The Unfair Competition Law, Cal. Business & Professions Code § 17200, et seq.

defines unfair business competition to include any “unlawful, unfair or fraudulent” act or practice,

as well as any “unfair, deceptive, untrue or misleading” advertising. Business & Professions

Code § 17200.

        211.    A business act or practice is “unfair” under the UCL if the reasons, justifications

and motives of the alleged wrongdoer are outweighed by the gravity of the harm to the alleged

victims.

        212.    Defendant has violated the unfair prong of the UCL by representing the

Babyganics Bath Products as “Tear Free”, gentle, non-allergenic, and safe for infants and children

when, in fact, they contain chemicals and other substances that are eye irritants.

        213.    The acts and practices alleged herein are unfair because they caused Plaintiff

Blanusa, Plaintiff Brown, and reasonable consumers like them, to falsely believe that the

Babyganics Bath Products are “Tear Free”, gentle, non-allergenic, and safe for infants and

children when they are not.

        214.    Defendant intended and intends for Plaintiff Blanusa, Plaintiff Brown, and

California Subclass Members to believe that the Products are “Tear Free”, gentle, non-allergenic,

and safe for infants and children. As a result, purchasers, including Plaintiff Blanusa, Plaintiff

Brown, and California Subclass Members reasonably believed that they were purchasing “Tear

Free” Products that were safe and gentle for their children’s eyes and would not cause eye

irritation and/or injury.

        215.    Defendant’s acts and practices constitute “unfair” business acts and practices in

that the harm caused by Defendant’s wrongful conduct outweighs any utility of such conduct, and

that Defendant’s conduct: (i) offends public policy; (ii) is immoral, unscrupulous, unethical,



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oppressive, deceitful and offensive, and/or (iii) has caused (and will continue to cause) substantial

injury to consumers, such as Plaintiff Blanusa, Plaintiff Brown, and the California Subclass.

       216.     There were reasonably available alternatives to further Defendant’s legitimate

business interests, including changing the Products’ formulas and/or labels, warning consumers

and the public about the risks of and adverse effects caused by the Products, and recalling the

Products, other than Defendant’s wrongful conduct and omissions described herein.

       217.     The gravity of the harm to members of the California Subclass resulting from these

unfair acts and practices is outweighed any conceivable reasons, justifications and/or motives of

Defendant for engaging in such deceptive acts and practices. By committing the acts and practices

alleged above, Defendant engages in unfair business practices within the meaning of California

Business & Professions Code §§ 17200, et seq.

       218.     Through its unfair acts and practices, Defendant has improperly obtained money

from Plaintiff Blanusa, Plaintiff Brown, and California Subclass Members. As such, Plaintiff

Blanusa and Plaintiff Brown request that this Court cause Defendant to restore this money to

Plaintiff Blanusa, Plaintiff Brown, and all California Subclass Members and to enjoin Defendant

from continuing to violate the UCL as discussed herein, and/or from violating the UCL in the

future. Otherwise, Plaintiff Blanusa, Plaintiff Brown, and California Subclass Members may be

irreparably harmed and/or denied an effective and complete remedy if such an order is not

granted.

                                        COUNT X
                   VIOLATION OF THE “FRAUDULENT” PRONG OF
                    CALIFORNIA’S UNFAIR COMPETITION LAW
                  CAL. BUS. & PROF. CODE §§ 17200, ET SEQ. (“UCL”)
                          (on behalf of the California Subclass)
       219.     Plaintiff Blanusa and Plaintiff Brown repeat and reallege the allegations contained

in paragraphs 1 through 106 as if fully set forth herein.

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        220.    Plaintiff Blanusa and Plaintiff Brown bring this Count individually and on behalf

of the California Subclass.

        221.    The UCL defines unfair business competition to include any “unlawful, unfair or

fraudulent” act or practice, as well as any “unfair, deceptive, untrue or misleading” advertising.

Cal. Bus. & Pro. Code § 17200.

        222.    A business act or practice is “fraudulent” under the UCL if it is likely to deceive

members of the consuming public.

        223.    Defendant’s representations that the Babyganics Bath Products are “Tear Free”,

gentle, non-allergenic, and safe for infants and children, were fraudulent within the meaning of

the UCL because they deceived Plaintiff Blanusa and Plaintiff Brown, and were likely to deceive

members of the California Subclass, into believing that the Babyganics Bath Products would not

cause eye irritation and/or eye injury and/or did not contain chemicals and other substances that

are eye irritants.

        224.    Rather than inform consumers about the dangers associated with using the

Products, Defendant represented the Products were “Tear Free” and safe and gentle. The Products

are not “Tear Free” as described on their packages. Rather, they are composed of several

ingredients that are proven eye irritants and have Ph levels below the neutral Ph level of 7,

indicating that Products contain chemicals or other substances that are acidic. Defendant knew

the Products were not “Tear Free” but nevertheless made such representations through its

marketing, advertising and product labeling.

        225.    Defendant intended and intends for Plaintiff Blanusa, Plaintiff Brown, and

California Subclass Members to believe that the Products were “Tear Free”, gentle, non-

allergenic, and safe for infants and children. As a result, purchasers, including Plaintiff Blanusa,



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Plaintiff Brown, and Subclass Members reasonably believed that they were purchasing “Tear

Free” Products that were safe and gentle for their children’s eyes and did not pose the risk of, and

cause, eye irritation and/or injury.

       226.    Plaintiff Blanusa, Plaintiff Brown, and California Subclass Members would not

have purchased the Babyganics Bath Products had they know that they contain ingredients that

are proven eye irritants and, thus, are not “Tear Free” and are potentially dangerous for infants

and children’s eyes.

       227.    Defendant knew the Products were not “Tear Free” but nevertheless made such

representations through its marketing, advertising and Product labeling. In reliance on these and

other similar representations, Plaintiff Blanusa, Plaintiff Brown, and putative California Subclass

Members were induced to, and did pay monies, to purchase the Products.

       228.    Defendant’s     acts    and   practices   as   described   herein   have   deceived

Plaintiff Blanusa, Plaintiff Brown, and California Subclass Members, and were highly likely to

deceive members of the consuming public.

       229.    Had Plaintiff Blanusa, Plaintiff Brown, and California Subclass Members known

the truth about the dangers and hazards associated with the Products, they would not have

purchased the Products.

       230.    Through its fraudulent acts and practices, Defendant has improperly obtained

money from Plaintiff Blanusa, Plaintiff Brown, and the California Subclass. As such, Plaintiff

Blanusa and Plaintiff Brown request that this Court cause Defendant to restore this money to

Plaintiff Blanusa, Plaintiff Brown, and all California Subclass Members, and to enjoin Defendant

from continuing to violate the UCL as discussed herein and/or from violating the UCL in the

future. Otherwise, Plaintiff Blanusa, Plaintiff Brown, and the California Subclass may be



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irreparably harmed and/or denied an effective and complete remedy if such an order is not

granted.

                                        COUNT XI
                    VIOLATION OF THE “UNLAWFUL” PRONG OF
                     CALIFORNIA’S UNFAIR COMPETITION LAW
                   CAL. BUS. & PROF. CODE §§ 17200, ET SEQ. (“UCL”)
                           (on behalf of the California Subclass)
          231.   Plaintiff Blanusa and Plaintiff Brown repeat and reallege the allegations contained

in paragraphs 1 through 106 as if fully set forth herein.

          232.   Plaintiff Blanusa and Plaintiff Brown bring this Count individually and on behalf

of the California Subclass.

          233.   The UCL defines unfair business competition to include any “unlawful, unfair or

fraudulent” act or practice, as well as any “unfair, deceptive, untrue or misleading” advertising.

Cal. Bus. & Pro. Code § 17200.

          234.   A business act or practice is “unlawful” under the UCL if it violates any other law

or regulation.

          235.   Defendant’s representations that the Babyganics Bath Products are “Tear Free”,

gentle, non-allergenic, and safe for infants and children in connection with its marketing and

advertisements concerning the Products violated and continues to violate the FAL as described

herein.

          236.   Defendant’s representations that the Babyganics Bath Products are “Tear Free,

gentle, non-allergenic, and safe for infants and children in connection with its marketing and

advertisements concerning the Products violated and continues to violate the CLRA as described

herein.

          237.   As a result of the conduct described above, Defendant has been unjustly enriched

at the expense of Plaintiff Blanusa, Plaintiff Brown, and members of the proposed California

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Subclass. Specifically, Defendant has been unjustly enriched by obtaining revenues and profits

that it would not otherwise have obtained absent its false, misleading and deceptive conduct.

       238.     Through its unlawful acts and practices, Defendant has improperly obtained

money from Plaintiff Blanusa, Plaintiff Brown, and the California Subclass. As such, Plaintiff

Blanusa and Plaintiff Brown request that this Court cause Defendant to restore this money to

Plaintiff Blanusa, Plaintiff Brown, and all California Subclass Members, and to enjoin Defendant

from continuing to violate the UCL as discussed herein and/or from violating the UCL in the

future. Otherwise, Plaintiff Blanusa, Plaintiff Brown, and the California Subclass may be

irreparably harmed and/or denied an effective and complete remedy if such an order is not

granted.


                                          COUNT XII
                                   UNJUST ENRICHMENT
                   (on behalf of the Nationwide Class and State Subclasses)

       239.     Plaintiffs repeat and re-allege the allegations in paragraphs 1 through 106 as

though fully set forth herein.

       240.     Plaintiffs bring this Count on behalf of the Nationwide Class and State Subclasses.

       241.     Defendant’s conduct violated, inter alia, state and federal law by manufacturing,

advertising, marketing and selling its Products while mispresenting material facts.

       242.     Plaintiffs and putative Class Members conferred a benefit on Defendant when they

purchased the Products, which were not as Defendant represented them to be. By its wrongful

acts and omissions described herein, Defendant was unjustly enriched at the expense of Plaintiffs

and putative Class Members.

       243.     Plaintiffs’ detriment and Defendant’s enrichment were related to and flowed from

the wrongful conduct challenged in this Complaint.

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       244.    Defendant has profited from its unlawful, unfair, misleading, and deceptive

practices at the expense of Plaintiffs and putative Class Members under circumstances in which

it would be unjust for Defendant to be permitted to retain the benefit. It would be inequitable for

Defendant to retain the profits, benefits, and other compensation obtained from its wrongful

conduct as described herein in connection with selling the Products.

       245.    Plaintiffs and putative Class Members have been damaged as a direct and

proximate result of Defendant’s unjust enrichment because they would not have purchased the

Products had they known that the Products contained eye irritants and known of the dangers and

hazards associated with use of the Products.

       246.    Defendant either knew or should have known that payments rendered by Plaintiffs

and putative Class Members were given and received with the expectation that the Products were

safe for use as intended. It is inequitable for Defendant to retain the benefit of payments under

these circumstances.

       247.    Plaintiffs and putative Class Members are entitled to recover from Defendant all

amounts wrongfully collected and improperly retained by Defendant.

       248.    When required, Plaintiffs and Class Members are in privity with Defendant

because Defendant’s sale of the Products was either direct or through authorized sellers. Purchase

through authorized sellers is sufficient to create such privity because such authorized sellers are

Defendant’s agents for the purpose of the sale of the Products.

       249.    As a direct and proximate result of Defendant’s wrongful conduct and unjust

enrichment, Plaintiffs and putative Class Members are entitled to restitution of, disgorgement of,

and/or imposition of a constructive trust upon all profits, benefits, and other compensation

obtained by Defendant for its inequitable and unlawful conduct.



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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and putative Class Members, pray for

a judgment:

       a. Determining that this action is a proper class action and certifying the Class and State

          Subclasses as defined herein;

       b. Appointing the named Plaintiffs as representatives of the Class and State Subclasses;

       c. Appointing the undersigned as Class Counsel;

       d. Finding Defendant liable to Plaintiffs and Class Members for actual damages in such

          amount(s) as the Court or Jury may determine;

       e. Awarding statutory damages as appropriate;

       f. Awarding pre- and post-judgment interest;

       g. Awarding injunctive and declaratory relief, as claimed herein;

       h. Awarding Plaintiffs and Class Members attorneys’ fees and all litigation costs;

       i. Awarding compensatory damages against Defendant in favor of Plaintiffs and the

          Class for damages sustained as a result of Defendant’s wrongdoing; and

       j. Awarding such other and further relief as may be just and proper.

                                DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a trial by jury on all issues so triable.



Dated: July 28, 2017                          TYCKO & ZAVAREEI LLP

                                              /s/ Jonathan K. Tycko                   _____
                                              Jonathan K. Tycko (SDNY Bar No. JT2012, New
                                              York Bar No. 2568483)
                                              Andrea Gold (DC Bar No. 502607)*
                                              1828 L Street NW, Suite 1000
                                              Washington, D.C. 20036
                                              Telephone: (202) 973-0900

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                            Facsimile: (202) 973-0950
                            jtycko@tzlegal.com
                            agold@tzlegal.com

                            and

                            MORGAN & MORGAN
                            COMPLEX LITIGATION GROUP
                            Rachel Soffin (Florida Bar No. 018054)*
                            Jonathan B. Cohen (Florida Bar No. 0027620)*
                            201 N. Franklin St., 7th Floor
                            Tampa, FL 33602
                            Telephone: (813) 223-5505
                            Facsimile: (813) 222-2434
                            rsoffin@forthepeople.com
                            jcohen@forthepeople.com

                            and

                            BARBAT, MANSOUR & SUCIU PLLC
                            Nick Suciu III*
                            1644 Bracken Rd.
                            Bloomfield Hills, Michigan 48302
                            Telephone: (313) 303-3472
                            nicksuciu@bmslawyers.com

                            * Admitted pro hac vice

                            Attorneys for Plaintiffs and putative Class Members




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June 1, 2017

VIA CERTIFIED MAIL


KAS Direct, LLC
d/b/a Babyganics
1600 Stewart Avenue
Suite 411
Westbury, NY 11590

       Re:      Notice Concerning Breach of Warranty Pursuant to N.Y. U.C.C. § 2-
                607(3)(a), Cal. U.C.C. § 2607(3)(A) and California Civil Code §1782

Dear Counsel:

        Pursuant to N.Y. U.C.C. § 2-607(3)(a), Cal. U.C.C. § 2607(3)(A) and California
Consumer Legal Remedies Act (“CLRA”), California Civil Code section 1750 et seq.,
specifically, section 1782, Cheyenne Blanusa and Tarina Skeen, on behalf of themselves
and all other similarly situated New York and California consumers, through their
undersigned counsel, hereby notify you that KAS Direct, LLC (“Babyganics”) is alleged
to have breached certain express warranties and section 1770 of the CLRA in connection
with its Babyganics® brand Chamomile Verbena Conditioning Shampoo + Body Wash,
Fragrance-Free Conditioning Shampoo + Body Wash, Fragrance-Free Bubble Bath,
Chamomile Verbena Bubble Bath, Fragrance-Free Moisturizing Therapy Cream Wash,
Chamomile Verbena Squeeze & Foam Shampoo + Body Wash, Orange Blossom Night
Time Bubble Bath, Fragrance-Free Shampoo + Body Wash, Chamomile Verbena
Shampoo + Body Wash and/or Orange Blossom Night Time Shampoo + Body Wash
products (collectively, the “Products”), including:

        (a) manufacturing, naming, branding, labeling, packaging, marketing, advertising,
distributing, and/or selling Products when Babyganics knew or should have known that
the Products were not “Tear Free”, gentle, non-allergenic, and safe for infants and
children when, in fact, they contain chemicals and other substances that are eye irritants
and are incapable of providing these claimed benefits to consumers;

        (b) knowing that reasonable consumers reading the packaging and labels of the
Products would be misled and would reasonably believe that each Product was “Tear
Free”, non-irritating to the eyes, gentle, non-allergenic, and safe for infants and children;
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        (c) knowing that reasonable consumers lack the ability to test or independently
ascertain the genuineness of product labeling claims of everyday consumer products and
must, therefore, rely on Babyganics to honestly represent its Products and the Product
attributes on the Product labels; and

        (d) knowing that the Products lacked the claimed benefits when they left
Babyganics’ possession or control and were sold to Ms. Cheyenne Blanusa and Ms.
Tarina Skeen, and similarly-situated New York and California consumers, and that the
absence of the claimed benefits was not discoverable by Ms. Blanusa and Ms. Skeen, and
similarly-situated New York and California consumers at the time of their purchase of the
Products.

        Based on the foregoing, Ms. Blanusa and Ms. Skeen, on behalf of themselves and
all other similarly-situated New York and California consumers, demand that Babyganics
cure the above-described breaches of warranty and agree to refund all monies it received
from New York and California consumers who purchased the Products.

        Further, Cheyenne Blanusa is a California citizen residing in Orange county, and
is a “consumer” as defined by California Civil Code§ 1761(d). Ms. Blanusa regularly
purchases these Products in California, including on or about March 6, 2017. Ms.
Blanusa suffered a loss of money as a result of Babyganics’ omissions and
misrepresentations in the amount of the purchase price of the products that she purchased.

      Pursuant to section 1782 of the CLRA, based on the foregoing, our clients hereby
demand that within thirty (30) days of receiving this letter, Babyganics:

       1.       Cease and desist from further sale of the Products;
       2.       Make full restitution to all purchasers of the Products in the United States,
                including the state of California of all money obtained from sales thereof;
                and
       3.       Destroy all misleading and deceptive materials relating to the Products.

         Please be advised that should Babyganics refuse this demand, Ms. Blanusa and
Ms. Skeen will seek monetary damages for themselves and similarly-situated New York
and California consumers stemming from the above-described breaches of warranty and
violations of California Consumer Legal Remedies Act (“CLRA”), California Civil Code
section 1750 et seq., specifically, section 1782, as well as an award of injunctive relief,
restitution, punitive damages, costs, attorneys’ fees, and/or any other available relief the
court deems proper. Please have your attorney contact us to discuss this notice and
demand.
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                                        Sincerely,

                                        /s/ Jonathan B. Cohen

                                        Jonathan B. Cohen


cc:     Rachel Soffin
        MORGAN & MORGAN
        COMPLEX LITIGATION GROUP
        201 N. Franklin St., 7th Floor
        Tampa, FL 33602
        Telephone: (813) 223-5505
        Facsimile: (813) 222-2434
        rsoffin@forthepeople.com

        Nick Suciu III
        BARBAT, MANSOUR & SUCIU PLLC
        1644 Bracken Rd.
        Bloomfield Hills, Michigan 48302
        Telephone: (313) 303-3472
        nicksuciu@bmslawyers.com

        Andrea Gold (DC Bar No. 502607)
        Jonathan K. Tycko (SDNY Bar No. JT2012, New York Bar No. 2568483)
        TYCKO & ZAVAREEI LLP
        1828 L Street NW, Suite 1000
        Washington, DC 20036
        Telephone: (202) 973-0900
        Facsimile: (202) 973-0950
        agold@tzlegal.com
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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


TARINA SKEEN, CHEYENNE BLANUSA,
MALISSA BROWN and NATALIE VIDAL,
on behalf of themselves and all others
similarly situated,                                 CASE NO.: 1:17-cv-04119

       Plaintiffs,                                  CLASS ACTION

v.                                                  JURY TRIAL DEMANDED

KAS DIRECT, LLC d/b/a BABYGANICS,

      Defendant.
___________________________________/


                          DECLARATION OF MALISSA BROWN

I, Malissa Brown, declare as follows:

        1.     I am a named plaintiff in the above-captioned litigation.
        2.     I have personal knowledge of the matters set forth below except to those matters
stated herein which are based on information and belief, which matters I believe to be true.
        3.     If called as a witness I could and would competently testify to the matters
included herein.
        4.     I reside in Frazier Park, California.
        5.     I purchased Orange Blossom Night Time Shampoo + Body Wash and Orange
Blossom Night Time Bubble Bath in March 2017 from a Babies R Us located in __________,
                                                                                   Santa Clarita,CA
California.
        6.     I am informed and believe that venue is proper in this Court under California
Civil Code 1780(d) because Defendant KAS Direct, LLC, is a citizen of the state of New York
and conducts business in this District.

        I declare under penalty of perjury under the laws of New York and the United States that
the foregoing is true and correct and that this declaration was executed on July 10
                                                                                 __, 2017 in
Frazier Park, California.



                                                                __________________________

                                                                                  Malissa Brown
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